                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

LOCAL UNION NO. 124 I.B.E.W.  )
PENSION TRUST FUND, et al.,   )
                              )
               Plaintiffs,    )
                              )
v.                            )                     Case No. 18-0289-CV-W-BP
                              )
TESSERACT CONSTRUCTION GROUP, )
LLC.,                         )
                              )
               Defendant.     )

        ORDER DIRECTING DEFENDANT TO SUBMIT TO AN ACCOUNTING


       This case was filed on April 16, 2018, and Defendant was served on August 18. (Doc. 3.)

Defendant did not file an Answer or otherwise appear, and Plaintiffs filed a Motion for Default

Judgment. Defendant did not respond, and on June 11, 2018, the Court issued an Order to Show

Cause that (1) found Defendant to be in default and (2) directed Defendant to respond by June 26,

2018 and show cause why a default judgment should not be entered. (Doc. 9.) To date no response

has been filed.

       Before a Default Judgment can be entered, Plaintiffs need information from Defendant to

establish their damages.    Therefore, Defendant is ORDERED to permit an accounting of

defendant's business books, records, ledgers and other papers and documents pertaining to the

compensation paid to employees, hours worked by employees, monies withheld from employees for

taxes paid on account of employees and any additional records or documents relevant to and of

assistance in determining the total number of hours worked and/or paid to employees within the

jurisdiction of the collective bargaining agreements and Trust Agreement for the period August 21,

2017, to date.




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       Plaintiffs shall supplement their Motion for Default Judgment when the accounting is

completed, to include the information establishing their damages from August 21, 2017 to this date,

as well as the final amount of costs and fees that are to be awarded. If the accounting is not completed

within six months, Plaintiffs shall file a Status Report advising the Court of the progress made.

       The Clerk of Court shall mail a copy of this Order to:

Tesseract Construction Group, LLC
c/o David Hudson, Registered Agent
1702 Mystery Hill Drive
Pleasant Hill, Missouri 64080


IT IS SO ORDERED.



                                                   /s/ Beth Phillips
                                                   BETH PHILLIPS, JUDGE
Date: July 2, 2018                                 UNITED STATES DISTRICT COURT




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